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                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK

       APPLIED MATERIALS, INC.,

                      Plaintiff,

              v.
                                                    Civil Action No.: 1:14-cv-01346 (GTS) (CFH)
       TERRY BURKS,

                      Defendant.


                   NON-PARTY WESTERWOOD GLOBAL USA, LLC’S
                              NOTICE OF MOTION

       PLEASE TAKE NOTICE that on March 5, 2015 at 9:30 a.m., or as soon thereafter as

counsel may be heard, one of the attorneys for non-party Westerwood Global USA, LLC (“WG

USA”), shall appear before the Honorable Judge Hummel in the courtroom usually occupied by

him in the James T. Foley U.S. Courthouse, 445 Broadway, Albany, NY 12207, and present:

NON-PARTY WESTERWOOD GLOBAL USA, LLC’S MOTION FOR PROTECTIVE

ORDER AND RETURN OF LAPTOP, wherein WG USA respectfully requests that the Court

(1) enter a protective order preventing AMI and/or its agents from searching on the Lenovo (or

any forensic image of the Lenovo) beyond searching for the specific metadata of the files

identified in this suit as allegedly taken by Burks, and to prevent AMI from accessing any WG

USA information; and (2) compel AMI to return the Lenovo to WG USA with all files intact but

with the AMI files at issue removed. seeks

Dated: New York, New York                       Respectfully submitted,
       February 2, 2015
                                                       ALSTON & BIRD, LLP

                                                By: s/ John F. Cambria
                                                       John F. Cambria (107224)
                                                       Aoife Elizabeth Butler (107225)
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